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OCT.

Case 1:05-cv-00326-LG-JMR Document 77-5

4.2006 2:30PM HARRISON COUNTY SHERRIF
HARRISON COUNTY BOARD

Filed 08/14/08

NO. 1066

OF SUPERVISORS

Page 1 of 38

Pp,

rder

oS acon COUNTY GHANCERY CLERK | PU [R

ACCOUNTS PAYABLE DEPARTMENT

CHASE ORDIER © rerchase order,

HARRISON COUNTY

Date 10/ 4/2006

PHONE (228) 865-4034
P.0. DRAWER CC PURCHASING DEPARTMENT Request 153456
GULFPORT, MS 9902 4 PHONE (228) 865-4028 L. Page 1
FAX (228) 865-4223
T AMERICAN RED CROSS 4d ~ HARRISON COUNTY JOB SITE
P O BOX 4514 h DIRECTIONS WILL BE PROVIDED VIA
> FAX OR TELEPHONE CONVERSATION
'  BILOXT MS 39535 t
L o
QUANTITY DESCRIPTION OF SUPPLIES, EQUIP, OR SERVICE UNIT COST EXTENDED
_1,00| LT CPR/FIRST AID INSTRUCTOR CERTIFICATION... __ j| 125.0009 . 425.900
|) FOR BABNEST THOMAS (2::,: 2 uo et oo a pe a eee
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re ° - 7 ~ ~ ge spe appre er
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FOR: SHERIFF ADMINISTRATION

TOTAL AMOUNT OF THIS PURCHASE ORDER $125.00

PD-2

CONTROL NO. 246796

(THIS IS NOT THE PURCHASE ORDER NUMBER)

INSTRUCTIONS FOR VENBOR

1. This purchage order number shail be shown b
No unit price slHafl exceed the bid price.

if not previously prot
The original invoice should be sent
All prices, unlees otherwise specified, ara not

Ne

Ship prepaid, beat way unless otherwise insbucted.

Equipment, materials and/or auppites delivered on this order shel or
If ehipment Is made by common carrer, the original prapald BIN shall accompany the originat involce.

APPROVED BY Or. Yeon CA Ore

HARRISON GOUNTY PURCHASING DEPARTMENT
MELISSA L. POPE, PURCHASE CLERK

y vendor on all related Invoices, dollvery mamorandum, bills of lading and/or carraspondance.

provided, bilings/stalements with invoices should be rendered as spon us possible. _ .
to accounts payable, a duplicate should be sent to the purchasing department.

FOB destination with transportation charges prepald.
he subject to Inspection and, lt relected, shall remain the property of the vendor,

VENDOR FILE

Page 2 of 38

Filed 08/14/08

LG-JMR Document 77-5

05-cv-00326-

Case 1

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has certified thé

Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 3 of 38

March 22, 2006

Ms. Hentges,

On March 2, 2006 the following people attended 4 hours of JMS system administration
training.

Major Riley
Sgt. Rogers’
Ms. Rippy

Sgt. Thomas

On March 10, 2006 the following people attended 2 hours additional JMS system
administration training. , ,

Ms. Rippy
Sgt. Thomas

Kelly A. Morgan.

Public Safety Applications Instructor
Mississippi Automated System Project
228.297.1107

Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 4 of 38

FOUNDED 1870

AMERICAN CORRECTIONAL Association

4330 Forses Bouuevaro © Lanuast, Marviann 20706-4322
801 © 948 © 1800 Pay 304 © 918 © 1990
WWW.AGA.ORG

November 16, 2004

Earnest B. Thomas

Harrison County Sheriff's Dept.
Attn: Capt. Rupert H. Lacy

PO Box 1480

Gulfport, MS 39502-1480

Dear Mr. Thomas:

Congratulations on your successful completion of the American Correctional Association's
Correctional Supervision I Self-Instructional Course.

Having completed this self-instructional course, you are now eligible to receive continuing education

aT t.,

units (CEUs) from University of Maryland, College Park. If you would like to receive CEUs,
complete the enclosed registration form and mail it to the American Correctional Association.
Please make out your check or money order to ACA in the amount of $18.00.

Once again, I commend your efforts and urge you to have a copy of this letter placed in your
personnel file. Ifyou have any questions or need additional information, please call the Professional

Development staff at (301) 918-1861.

Sincerely,

William W. Sondervan, Ed.D., CCE
Director
Professional Development

Participant ID# 10666463
Enclosures

Your Grade(s):
95

Page 5 of 38

Filed 08/14/08

Case 1:05-cv-00326-LG-JMR Document 77-5

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STON)

Presents this

Certificate of Completion
to

Earnest B. Thomas

In Recognition of Your Continued Professional Development
Through the Successful Completion
of The 40Hour
Correctional Supervision I Self-Instructional Course

DIRECTOR
PROFESSIONAL DEVELOPMENT

November 2004 Sin Sb —
DATE. . .

¥ EXECUTIVE DIRECTOR

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Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 6 of 38

FOUNDED 1876

AMERICAN GORRECTIONAL AssoclATION.

4380 Forpes Boutevanp © LaNnan, Marviano 20706-4392
301 918 © 1800 Fax 304 © 918 ¢ 1900
WWW.ACA.ORG

May 18, 2005

Earmest B. Thomas

Harrison County Sheriff's Devt.
Attn: Paula Hentges

10451 Larkin Smith Drive
Gulfport. MS 39503-4615

Dear Mr. Thomas:

Congratulations on your successful completion of the American Correctional Association's Suicide
Prevention in Custody Self-Instractional Course. ,

Having completed this self-instructional course, you are now eligible to receive continuing education
units (CEUs) from University of Maryland, College Park. If you would like to receive CEUs,
complete the enclosed registration form and mail it to the American Correctional Association.

Please make out your check or money order to ACA in the amount of $18.00.

Once again, I commend your efforts and urge you to have a copy of this letter placed in your
personnel file. If you have any questions or need additional information, please call the Professional
Development staff at (301) 918-1861.

- Sincerely,

William W. Sondervan, Ed.D., CCE
Director
Professional Development

Participant ID# 10666463
Enclosures
Your Grade(s):

88

Page 7 of 38

Filed 08/14/08

Case 1:05-cv-00326-LG-JMR Document 77-5

Fis

OLENA ORIN

SOUTHERN REGIONAL PUBLIC SAFETY INSTITUTE

_

This is to certify that

Earnest B. Thomas

has successfully completed -

Impact Weapons
(6 hours)

This the 1 day of February 2008

CG) Dhar.

Lt. Jody L. Wilkerson, Deputy Director
Page 8 of 38

Filed 08/14/08

Case 1:05-cv-00326-LG-JMR Document 77-5

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In Recognition of Your Continued Professional Development
Through the Successful Completion
of The 29Hour

Suicide Prevention in Custody Self-Instructional Course

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DIRECTOR
PROEESSIONAL DEVELOPMENT

May 2005

DATE

EXECUTIVE DIRECTOR

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Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 9 of 38

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Instructor: Coet. lae zy

Read the questions and select the best answer from the choices listed below.
There is only one answer to each question. All answers are to be recorded on
your answer sheet.

1. Which terms best describe the psychological effects of OC?
a. Capsaicinoid concentrations from 0.66%, 1.33%, and 3.0%
respectively.
b. Vasodilation, Rhinorrhea, Dyspnea
€@) Anxiety, fear, and Panic
d. None of the above

2. Of the following which high-volume delivery system would be best suited
for cell extraction?
a. Stream (MK-4)
b. Fog (MK-9)
c. Foam (MK-3 pepper foam)
Cone (any brand)

3. Based on the health risk issue of “hydraulic needle effect” what is the
distance recommendation offered as a guide unless the situation dictates
otherwise?

36 inches
b. 6 inches
c. 12 inches
d. 30 inches

Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 10 of 38

Memorandum Receipt

Date: 3/24/35

l_ 242637 2. THOMAS received a copy of the memo generated by
(Print Name)

Major Smith regarding Off-Duty Uniform Guidelines dated March 22, 2005.

Officers Signature: Life beni — __ Badge #_ “GO

Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 11 of 38

Memorandum Receipt

Date: 2/: “fos

r

I Saf. Laas! Teena ps a L042 received a Suicide Prevention Card.
‘(Print Name)

Officers Signature: Yt lit _Badge #_/Z0_

Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 12 of 38

SHIFT TRAINING _

POLICY AND PROCEDURES

ON, Yr, bbs al LHEST (pores tyLo RECEIVED a 15-MINUTE BLOCK

PRINT NAME
TRAINING ON POLICY AND PROCEDURES; SUICIDE WATCH; DURING THE 0645-1500 HOUR

SHIFTS BRIEFING.

Wee SIGNATURE AND BADGE NUMBER

SHIET SUPERVISORS/INSTRUCTOR |
SGT. KENNETH ROGERS #161

SGT. EARNEST THOMAS #285

SGT. EDDIE COLLINS #254

Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 13 of 38

He ‘ison County Adult Detention ¢ ater
. ' George Payne, Jr., Sheriff

 -=Inmate Worker Guidelines

- -All officers will strictly enforce these guidelines; if you violate any-of these guidelines you. will be
written up. If violations are nét corrected you will be dismissed as an inmate worker, and lose all

worker privileges.
OL rae Privileges
e 1-hour non-contact visit weekly.
‘e° Allowed to stay up Unul2d0"p:m. Sunday thru Thursday, and until 1:00'a.m: on.Friday and Saturday.
e 2-Hour yard call 7 days a week.
e -Larger meal portions at lunchtime.
e ~ Allowed to use the telephone until lockdown time.

cs Guidelines
2 © Inmate workers must bée properly groomed at all times; i.e. dean-shaven, shirts tucked, belts worn, short and
neat haircut.

All inmate workers must wear. irimate worker tags whenever reporting for work. (Tags will only be worn-on your ~
shirt pockets.) ILD. tags will-be picked up from the contro! tower before you exit the bio ote fOr work, and will be
retumed to the control tower when returning from work.
_.© . Ifa worker loses an LD. tag, your supervisor will be immediately notified.

e. Inmate workers will wear 1.D. wristbands at all times.

_.¢- The inmate worker. sections will- be dean at all times. Any worker not practicing good housekeeping will be
'. disciplined accordingly. All personal items must be stored in gray boxes.

* Workers are not allowed in the hallways without an escort. The only exception will be sanitation workers.
e Leaving your assigned area without an escort will result in your being disciplined.
¢ Inmate workers will not talk to inmates being held in holding cells.
* Inmate workers are not allowed outside the facility without an officer escort.
e No loitering.
.?@.- Inmate workers will not enter the loading dock area without an officer escort.

» Inmate workers aré not allowed upstairs without an officer escort.

~ 7.@ .. When female inmates are being escorted in the halls, male workers will turn and face the nearest wall until the

female has passed.
‘e » Inmate workers will go from point A to point B without stopping.

e All officers will strictly enforce these guidelines and if you violate any of these guidelines you will be written up..-
If violations are not corrected you will be dismissed as an inmate worker.

Officer's Signature: bp lb eaa*/ LO _Date: [ofp ‘of

Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 14 of 38

cence . Name 5G. Thamnss, Euonese

Instructor: Date:

Read the questions and select the best answer from the choices listed bélow.
There is only one answer to each question. All answers are to be recorded on
your answer sheet.

1. Which terms best describe the psychological effects of OC?
a. Capsaicinoid concentrations from 0.66%, 1.33%, and 3.0%
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Anxiety, fear, and Panic
/ None of the above

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Cone (any brand)

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otherwise?

36 inches
b. 6 inches
c. 12 inches
d. 30 inches

Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 15 of 38

_.. HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

Soh. Goiar Terps. #735 ATTENDED A TRAINING CLASS
4 (NAME)

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ON July Ole 2004 ANDRECEIVED “7

TRAINING CREDIT HOUR (S) / MINUTE (S).

CERTIFIED SIGNATURE: —

NAME OF CERTIFYING INDIVIDUAL:

(PRINT)

Case 1:05-cv-00326-LG-JMR Document 77-5

Filed 08/14/08 Page 16 of 38

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

Sergeant LRRuST Tilorans 7225 ATTENDED A TRAINING CLASS
(NAME)

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ON May _/3 2004 ANDRECEIVED  .F

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Page 17 of 38

Filed 08/14/08

Case 1:05-cv-00326-LG-JMR Document 77-5

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Page 18 of 38

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Case 1:05-cv-00326-LG-JMR Document 77-5

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Case 1:05-cv-00326-LG-JMR Document 77-5. Filed 08/14/08 Page 19 of 38

ACKNOWLEDGEMENT RECEIPT

l, £4eus7 8. Tyas #25 have this date received the following
(print full name)

document(s) from Capliéa Laalse #5 Z
’  (officer/supetvisor) —

[_] Narrative(s)

[_] Informal Counseling

[_] Formal Written Counseling

[_] Intent to Initiate Corrective Measures

Policy on Personnel Records

BEALE

ture)

ce: Major Riley
Captain Taylor
_ Personnel File

Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 20 of 38

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

Set EAWesr 4. Wauars ATTENDED A TRAINING CLASS
(NAME) .

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on Le Burngy 12 2004 ANDRECEIVED  </

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Case 1:05-cv-00326-LG-JMR Document 77-5 . Filed 08/14/08 Page 21 of 38

HARRISON COUNTY SHERIFF'S DEPARTMEN
TRAINING ATTENDENCE RECORD .

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Page 22 of 38

Set. AIMEE THOMAS

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Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 23 of 38

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

Sd. LAWS, b Thopan-s. 4235 ATTENDED A TRAINING CLASS
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Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 24 of 38

HARRISON COUNTY SHERIFF’S DEPARTMENT
TRAINING ATTENDENCE RECORD

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Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 25 of 38

Shift Training

On Lohisfo3 /l_Zaeues7 B. Thor's ‘2S received a 15 minute
f Print Name
block of training on Employees & the Inmate Culture, during the

shift briefing.

Cobble t285

: Officers Signature & Badge Number

Page 26 of 38

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Case 1

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Page 27 of 38

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Page 28 of 38

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Case 1:05-cv-00326-LG-JMR Document 77-5

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Page 29 of 38

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Case 1:05-cv-00326-LG-JMR Document 77-5

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Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 30 of 38

SHIFT TRAINING
EMERGENCY PROCEDURES

On 03/2003,1_ CARLES. Fieri “225 RECEIVED A 15 MINUTE BLOCK
PRINT NAME

OF TRAINING On Riots and Disturbance During The 0760-1500 HR SHIFT BRIEFING.

‘DEPUTY SIGNATURE AND BADGE NUMBER

‘Lt LADEHOFF

Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 31 of 38
- SHIFT TRAINING
EMERGENCY PROCEDURES

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OF TRAINING On Inmate Deaths During The 0700-1500 HR SHIFT BRIEFING.

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Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 32 of 38

SHIFT TRAINING
EMERGENCY PROCEDURES

0n03/1803,1 Zaquesr J. Dhyirs “235 RECEIVED A 15 MINUTE BLOCK
PRINT NAME
OF TRAINING On Natural Disaster Plan During The 0700-1500 HR SHIFT BRIEFING.

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Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 33 of 38

SHIFT TRAINING
EMERGENCY PROCEDURES

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OF TRAINING On Fire &Evacuation Plans During The 0700-1500 HR SHIFT BRIEFING.

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EMERGENCY PROCEDURES

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Case 1:05-cv-00326-LG-JMR Document 77-5 — Filed 08/14/08 Page 35 of 38

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AMERICAN GORRECTIONAL ASSOCIATION

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WWW.CORRECTIONS. COM/AGA
February 11, 2003

Eamest Thomas
Harrison County Sheriff's Dept.
C/o Capt. Rupert H. Lacy
PO Box 1480
Gulfport, MS 39502
Dear Mr. Thomas:

Congratulations on your successful completion of the American Correctional Association's
Working with Special Needs Offenders Self-Instructional Course.

Having completed this self-instructional course, you are now eligible to receive continuing
education units (CEUs) from Bastern Kentucky University. If you would like to receive CEUs,
complete the enclosed registration form and mail it to the American Correctional Association.
Please make out your check or money order to ACA in the amount of $18.00.

Once again, I commend your efforts and urge you to have a copy of this letter placed in your
personnel file. If you have any questions or need additional information, please call the

Professional Development staff at (301) 918-1862.

~asw oho... Greene, LI
Director
Professional Development

Participant ID# 10666463
Enclosures

Your Grade(s):
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Case 1:05-cv-00326-LG-JMR Document 77-5

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SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

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PRINT NAME
OF TRAINING ON-Code Of Ethics, DURING THE 0700-1500 Hours SHIFT BRIEFING.

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Case 1:05-cv-00326-LG-JMR Document 77-5 Filed 08/14/08 Page 38 of 38

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SHIFT TRAINING

POLICY AND PROCEDURE DIRECTIVE

ON 11-21-2002, | 2AtesT 8 Tionzes RECEIVED a 15-MINUTE BLOCK
PRINT NAME

OF TRAINING ON Facility Goals and Mission, DURING THE 0700-1500 Hours SHIFT BRIEFING.

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